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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:13CR314
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )             TENTATIVE FINDINGS
                                              )
ANTHONY WEINRICH,                             )
                                              )
              Defendant.                      )

       The Court has received the Revised Presentence Investigation Report and Addendum

(“PSR”), and the Defendant's Objection to Revised Pre-Sentence Investigation Report and

Request for Evidentiary Hearing (Filing No. 155). The government filed an Objection to

Revised Presentence Investigation Report and Addendum and Plaintiff’s Statement (Filing

No. 156.). See Order on Sentencing Schedule, ¶ 6. The Court advises the parties that these

Tentative Findings are issued with the understanding that, pursuant to United States v.

Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

       Accordingly,

       IT IS ORDERED:

       1.     The government’s objection (Filing No. 156) is sustained, and the Court accepts

the government’s position that the most readily provable drug quantity attributable to the

Defendant is at least 50 but less than 200 grams of a mixture or substance containing

methamphetamine, consistent with the charge presented in the Indictment;

       2.     The Defendant’s objections to the PSR (Filing No. 155) are sustained as to

paragraphs 19, 24, and 27 of the Revised Pre-Sentence Investigation Report, and otherwise

will be addressed at the time of sentencing, if not moot;
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       3.      The Court intends to adopt the PSR in all other respects;

       4.      If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary hearing

is requested, a statement describing why an evidentiary hearing is necessary and an

estimated length of time for the hearing;

       5.      Absent submission of the information required by paragraph 4 of this Order,

these tentative findings are final; and

       6.      Unless otherwise ordered, any motion challenging these tentative findings shall

be resolved at sentencing.

       DATED this 13th day of August, 2014.

                                             BY THE COURT:


                                             s/Laurie Smith Camp
                                             Chief United States District Judge




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